                  Case 1:20-cv-01485-RBJ Document 41 Filed 09/24/21 USDC Colorado Page 1 of 2




                                                      UNITED STATES DISTRICT COURT
                                                         DISTRICT OF COLORADO

                         Civil Case No. 1:20-cv-01485-STV


                         KEITH CLINGMAN,

                                               Plaintiff,

                         v.

                         DRIVE COFFEE, LLC; DRIVE COFFEE, INC;
                         and ALEX GRAPPO, an individual,

                                               Defendants.


                                                       UNOPPOSED MOTION TO APPEAR
                                                           VIA ZOOM (OR PHONE)




                                                                 INTRODUCTION

                              1. Plaintiff Keith Clingman (“Plaintiff”), by and through his undersigned counsel,

                                 respectfully submits this Motion requesting that his counsel be permitted to appear at the

                                 Trial Preparation Conference currently scheduled before Judge R. Brooke Jackson on

                                 October 21, 2021 commencing at 1:30 p.m. MT via Zoom (or in the alternative, by WebEx

                                 telephone).

                              2. Counsel for Defendants does not object and further asks that if this motion be granted that

                                 she too be permitted to appear by Zoom (or alternative).

                              3. Plaintiff’s counsel is based out of state and to save the parties the significant costs and

                                 expenses necessitated by an in-person appearance respectfully requests to appear at this

                                 conference via Zoom.


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                  Case 1:20-cv-01485-RBJ Document 41 Filed 09/24/21 USDC Colorado Page 2 of 2




                            4. Furthermore, the COVID-19 pandemic still poses logistical and safety issues that would

                                make it difficult for counsel to travel to the scheduling conference.

                            5. Plaintiff’s counsel has appeared by Zoom, WebEx and phone for similar appearances in

                                multiple other cases in Colorado.



                         WHEREFORE, Plaintiffs’ counsel respectfully requests permission to appear at the Trial

                         Preparation Conference, currently scheduled before Judge R. Brooke Jackson on October 21, 2021

                         commencing at 1:30 p.m. MT via Zoom.



                         Respectfully submitted, this 24th day of September, 2021.



                                                                          ANDERSONDODSON, P.C.

                                                                          /s/ Penn Dodson
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                                                                          Attorney for Plaintiff




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                         Clingman v. Drive Coffee LLC                                              Motion to Appear Via Zoom
     11 Broadway
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                         USDC, District of Colorado                                                                    Page 2
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